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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 JOHN KARARO, individually, and              )
 on behalf of all other Illinois citizens    )       Case No. 23-cv-02187
 similarly situated,                         )
                                             )
                  Plaintiffs,                )
                                             )
 v.                                          )
                                             )       Jury Trial Demanded
 OLD DOMINION FREIGHT LINE                   )
 INC.,                                       )
                                             )
                  Defendant.
                      FIRST AMENDED CLASS ACTION COMPLAINT

           Plaintiff JOHN KARARO, as a proposed class representative, by and through

attorney James C. Vlahakis, asserts the following claims against Defendant OLD

DOMINION FREIGHT LINE INC. pursuant to the Illinois Biometric Information Privacy

Act, 740 ILCS 14/1, et seq.

      I.   Parties, Jurisdiction and Venue

           1.    Plaintiff JOHN KARARO (“Plaintiff”) is a citizen of Illinois and resides in

this judicial district.

           2.    Defendant OLD DOMINION FREIGHT LINE INC. (“Defendant”) conducts

business in the State of Illinois and within this judicial district.

           3.    Plaintiff is an employee of Defendant.

           4.    Plaintiff works for Defendant in a facility located in Crest Hill, Illinois.

           5.    Defendant is Virginia corporation and maintains its corporate office in

Thomasville, North Carolina.

           6.    Defendant’s registered agent is CT Corporation System, 208 S. LaSalle St.

Suite 814, Chicago IL 60604.




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       7.     This Court has personal jurisdiction over Defendant because it maintains

a business location in this judicial district and Defendant has violated BIPA through its

business practices conducted within this judicial district.

       8.     As detailed below, this Court has subject matter jurisdiction over Plaintiff’s

individual claims on the basis of diversity jurisdiction. See, 28 U.S.C. § 1332.

       9.     BIPA defines “biometric identifier” as “a retina or iris scan, fingerprint,

voiceprint, or scan of hand or face geometry.” 740 ILCS 14/10.

       10.    As detailed below, during Plaintiff’s employment with Defendant,

Defendant utilized a time clock system that required Plaintiff and other employees to

scan, upload and/or use at least one form of a unique “biometric identifier” in order

allow Plaintiff and other employees to log in and out of Defendant’s time clock system.

       11.    Defendant’s Kronos time clock system required Plaintiff and other

employees to scan, upload and/or use their unique fingerprint in order to use

Defendant’s time clock.

       12.    Defendant’s time clock system utilized, collected, stored and otherwise

obtained the unique biometric identifiers of Plaintiff and other similarly situated

employees in violation of the prohibition set forth by BIPA.

       13.    “[D]istrict courts shall have original jurisdiction of all civil actions where

the matter in controversy exceeds the sum or value of $75,000, exclusive of interest and

costs, and is between — (1) citizens of different States[.]” 28 U.S.C. § 1332.

       14.    As alleged above, Plaintiff is citizen of the State of Illinois and Defendant

is a foreign corporation with its headquarters and principal place of business located

outside the State of Illinois.

       15.    Plaintiff could recover $75,000.00 in statutory damages by using

Defendant’s time clock system a minimum of seventy-five (75) times.


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         16.      28 U.S.C. § 1391(b)(2) provides that “[a] civil action may be brought in –

(2) a judicial district in which a substantial part of the events or omissions giving rise

to the claim occurred[.]”

         17.      Venue is proper in this judicial district, a substantial part of the events or

omissions giving rise to Defendant’s violations of BIPA took place within this district.

         18.      Venue is also proper in this judicial district because Plaintiff is a citizen of

the State of Illinois and Plaintiff seeks to vindicate Plaintiff’s rights (and the rights of

putative class members) as provided by BIPA.

         19.      Further, venue is proper in this judicial district because Defendant’s

putative class members are all citizens of the State of Illinois.

   II.    The Biometric Privacy Act

         20.      BIPA was enacted in 2008 for the purpose of addressing a "very serious

need for protections for the citizens of Illinois when it [comes to their] biometric

information." Illinois House Transcript, 2008 Reg. Session No. 276.

         21.      BIPA’s express Legislative Findings provide as follows:

               (c) Biometrics are unlike other unique identifiers that are used to
               access finances or other sensitive information. For example, social
               security numbers, when compromised, can be changed. Biometrics,
               however, are biologically unique to the individual; therefore, once
               compromised, the individual has no recourse, is at heightened risk for
               identity theft, and is likely to withdraw from biometric-facilitated
               transactions.
               (d) An overwhelming majority of members of the public are weary of the
               use of biometrics when such information is tied to finances and other
               personal information.
               (e) Despite limited State law regulating the collection, use,
               safeguarding, and storage of biometrics, many members of the public
               are deterred from partaking in biometric identifier-facilitated
               transactions.
               (f) The full ramifications of biometric technology are not fully known.
               (g) The public welfare, security, and safety will be served by regulating
               the collection, use, safeguarding, handling, storage, retention, and
               destruction of biometric identifiers and information.

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740 ILCS 14/5.

       22.      The Illinois Supreme Court has recognized that BIPA “codified that

individuals possess a right to privacy in and control over their biometric identifiers and

biometric information.” Rosenbach v. Six Flags Ent. Corp., 432 Ill. Dec. 654, 129 N.E.3d

1197, 1206 (Ill. 2019).

       23.      A private entity’s failure to comply with BIPA “is no mere ‘technicality’”, as

the Illinois Supreme Court has explained:

             The duties imposed on private entities by section 15 of the Act (740 ILCS
             14/15 (West 2016)) regarding the collection, retention, disclosure, and
             destruction of a person's or customer's biometric identifiers or biometric
             information define the contours of that statutory right. Accordingly, when
             a private entity fails to comply with one of section 15's requirements, that
             violation constitutes an invasion, impairment, or denial of the statutory
             rights of any person or customer whose biometric identifier or biometric
             information is subject to the breach.
                                                   ***
             The Act vests in individuals and customers the right to control their
             biometric information by requiring notice before collection and giving them
             the power to say no by withholding consent. . . . When a private entity fails
             to adhere to the statutory procedures, as defendants are alleged to have
             done here, "the right of the individual to maintain his or her biometric
             privacy vanishes into thin air. The precise harm the Illinois legislature
             sought to prevent is then realized." This is no mere "technicality." The
             injury is real and significant.

Id. (emphasis supplied).

       24.      BIPA defines “biometric identifier” as “a retina or iris scan, fingerprint,

voiceprint, or scan of hand or face geometry.” 740 ILCS 14/10.

       25.      BIPA defines “biometric information” as “any information, regardless of

how it is captured, converted, stored, or shared, based on an individual's biometric

identifier used to identify an individual.” 740 ILCS 14/10.

       26.      BIPA prohibits private entities from collecting, capturing, purchasing,

receiving through trade, or otherwise obtaining a person's biometric information unless

the private entity: (1) informs that person in writing that identifiers and information will

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be collected and/or stored; (2) informs the person in writing of the specific purpose and

length for which the identifiers or information is being collected, stored or used; (3)

receives a written release from the person for the collection of that data; and (4)

publishes publicly available written retention schedules and guidelines for permanently

destroying said data. See 740 ILCS 14/15(a) and (b).

       27.    As detailed below, within the past five years (the “Relevant Time Period”),

Defendant required Plaintiff and other current and former employees (hereafter,

“putative class members”) to use a time clock system to track their hours worked.

       28.    The time clock system utilized by Defendant required Plaintiff and putative

class members to input, use, upload and/or store one of their unique “biometric

identifiers” in order to in an out of the time clock system.

       29.    Upon information and belief, the time clock system utilized by Defendant

used, captured, collected and/or stored the “biometric identifiers” of Plaintiff and

putative class members.

       30.    The time clock system utilized by Defendant required Defendant to obtain

written consent from Plaintiff and putative class members before it was able to acquire

or otherwise capture the “biometric identifiers” of Plaintiff and putative class members.

       31.    Section 20(1) of BIPA provides that “[a] prevailing party may recover for

each violation: ... (1) against a private entity negligently violates a provision of this Act,

liquidated damages of $1,000 or actual damages, whichever is greater[.]” 740 ILCS

14/20(1).

       32.    Section 20(2) of BIPA provides that “[a] prevailing party may recover for

each violation: ... (a) against a private entity that intentionally or recklessly violates a

provision of this Act, liquidated damages of $5,000 or actual damages, whichever is

greater[.]” 740 ILCS 14/20(2).


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   III. CAFA Jurisdiction

      33.      The Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d), provides

federal jurisdiction over putative class action claims if the following conditions are met:

            (2) The district courts shall have original jurisdiction of any civil action
            in which the matter in controversy exceeds the sum or value of
            $5,000,000, exclusive of interest and costs, and is a class action in
            which—
               (A) any member of a class of plaintiffs is a citizen of a State different
               from any defendant[.]

28 U.S.C. § 1332(d)(2).

      34.      Section 1332(d)(6) of CAFA provides that “[i]n any class action, the claims

of the individual class members shall be aggregated to determine whether the matter in

controversy exceeds the sum or value of $5,000,000, exclusive of interest and costs.”

      35.      Plaintiff satisfies Section 1332(d)(2)(A) because Defendant and the putative

members are citizens of different states.

      36.      Upon information and belief, during the Relevant Time Period, more than

100 putative class members utilized Defendant’s time clock system in violation of BIPA.

See, 28 U.S.C. § 1332(d)(5)(B)

      37.      The requirement of Section 1332(d)(2) is satisfied where 5,001 individual

violations of BIPA (involving 100 or more putative class members) would exceed

$5,000,000 in damages.

      38.      Within the past week, Defendant has attempted to secure BIPA consent

forms from employees by offering to pay them $500.

      Count I – Asserting Violations of Section 15(a) of BIPA

      39.      Plaintiff reasserts and incorporates the above Paragraphs as if fully set

forth above.




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       40.     Biometric identifiers are unlike other unique identifiers that are used to

access finances or other sensitive information.

       41.     Biometric identifiers and biometric information are biologically unique to

the individual.

       42.     Biometric identifiers and biometric information cannot be easily changed.

       43.     Public welfare, security, and safety will be served by regulating the

collection, use, safeguarding, handling, storage, retention, and destruction of biometric

identifiers.

       44.     Section 15(a) of BIPA states that a “private entity in possession of biometric

identifiers or biometric information must develop a written policy, made available to the

public, establishing a retention schedule and guidelines for permanently destroying

biometric identifiers and biometric information[.]”

       45.     In particular, Section 15(a) required Defendant to publish “to the public”,

“a retention schedule and guidelines for permanently destroying biometric identifiers

and biometric information when the initial purpose for collecting or obtaining such

identifiers or information has been satisfied or within 3 years of the individual's last

interaction with the private entity, whichever occurs first.”

       46.     Defendant does not maintain a public policy which specifically identifies

its data retention and destruction protocols relative to its collection of biometric

identifiers and biometric information of employees. See, www.odfl.com/us/en/privacy-

policy.html

       47.     “The BIPA requirement to implement data retention and destruction

protocols protects a person's biometric privacy just as concretely as the statute's

informed-consent regime.” Fox v. Dakkota Integrated Sys., LLC, 980 F.3d 1146, 1155

(7th Cir. 2020).


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       48.      Because Defendant does not maintain a public policy which identifies its

data retention and destruction protocols, Plaintiff reasonably believes that Defendant

does not destroy “biometric identifiers” or “biometric information” after “the initial

purpose for collecting or obtaining such identifiers or information has been satisfied” as

required by 740 ILCS 14/15(a).

       49.      Upon information and belief, Defendant does not destroy “biometric

identifiers” or “biometric information” “within 3 years of the individual's last interaction

with the private entity” as required by 740 ILCS 14/15(a).

       50.      Defendant’s violations of Section 15(a) of BIPA have resulted in the

unlawful retention of Plaintiff and proposed class members’ “biometric identifiers”

and/or “biometric information[.]”

       51.      The "unlawful retention of biometric data inflicts a privacy injury in the

same sense that an unlawful collection does." Fox, 980 F.3d at 1154-55.

       52.      As a result of Defendant’s conduct, Plaintiff and putative class members

to suffer harm, and they are entitled to liquidated damages as provided by 740 ILCS

14/20(1)-(2).

       53.      The proposed Class is comprised of all current and former employees of

Defendant (working in the State of Illinois) who had their “biometric information” and/or

“biometric identifiers” collected, captured, or otherwise obtained by Defendant in

violation of Section 15(a) of BIPA. 1

       54.      The proposed Class is ascertainable from Defendant’s records.

       55.      Common questions of law and fact exist.




1
 This definition is not a so-called “fail safe” class definition. See, e.g., Heard v. Becton, Dickenson
& Co., 534 F.Supp.3d 831, 848-49 (N.D. Ill. 2021).

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       56.    The claims in this Count are typical of the claims of putative class

members.

       57.    The defenses that Defendant may assert against Plaintiff are typical of the

types of defenses that Defendant may assert against putative class members.

       58.    Plaintiff will fairly and adequately protect the interests of the putative class

members because Plaintiff seeks to assert statutory rights afforded by BIPA and seeks

to obtain declaratory, injunctive and monetary relief for all class members.

       59.    The proposed Class should be certified to avoid inconsistent or varying

adjudications with respect to individual class members that would establish

incompatible standards of conduct for the party opposing the class.

       60.    The proposed Class should be certified to avoid adjudications with respect

to individual class members that, as a practical matter, would be dispositive of the

interests of the other members not parties to the individual adjudications or would

substantially impair or impede their ability to protect their interests.

       61.    The proposed Class should be certified because Defendant has acted or

refused to act on grounds that apply generally to the class, so that final injunctive relief

or corresponding declaratory relief is appropriate respecting the class as a whole.

       62.    The proposed Class should be certified because questions of law or fact

common to class members predominate over any questions affecting only individual

members, and because a class action is superior to other available methods for fairly

and efficiently adjudicating the present controversy.

       63.    Proposed class counsel will fairly and adequately protect the interest of the

putative class members. See, e.g., Molinari v. Fin. Asset Mgmt. Sys., Inc., 2021 U.S. Dist.

LEXIS 235401, *3 (N.D. Ill. Nov. 22, 2021) (appointing attorney James C. Vlahakis as

provisional class counsel in putative class action involving the Fair Debt Collection


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Practices Act and the Telephone Consumer Protection Act, with final approval being

granted by Dkt. 134). See also, In re: Apple Inc. Device Performance Litigation, 18-md-

02827, 2023 U.S. Dist. LEXIS 27892, 2023 WL 2090981 (Feb. 17, 2023) (granting final

approval of a $310 million dollar settlement fund where Plaintiff’s counsel represented

two dozen class representatives).

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court provide

Plaintiff and putative class members with the following relief:

             a. Declaring that Defendant violated Section 15(a) of BIPA;
             b. Requiring Defendant to publish a public policy which identifies its data
                retention and destruction protocols;
             c. Requiring Defendant to destroy “biometric identifiers” or “biometric
                information” after “the initial purpose for collecting or obtaining such
                identifiers or information has been satisfied”;
             d. Awarding liquidated damages for negligent violations of Section 15(a);
             e. Awarding liquidated damages for intentional and/or reckless violations
                of Section 15(a);
             f. Awarding reasonable attorney’s fees and costs;
             g. Enjoining Defendant from further violations of Section 15(a); and
             h. Certifying the proposed Class set forth above.


       Count II – Asserting Violations of Section 15(b) of BIPA

       64.      Plaintiff reasserts and incorporates the above Paragraphs as if fully set

forth above.

       65.      Section 15(b) of BIPA states that “[n]o private entity may collect, capture,

purchase, receive through trade, or otherwise obtain a person's or a customer's

biometric identifier or biometric information, unless it first” takes the following actions:

             (1) informs the subject or the subject's legally authorized representative
             in writing that a biometric identifier or biometric information is being
             collected or stored;
             (2) informs the subject or the subject's legally authorized representative
             in writing of the specific purpose and length of term for which a


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            biometric identifier or biometric information is being collected, stored,
            and used; and
            (3) receives a written release executed by the subject of the biometric
            identifier or biometric information or the subject's legally authorized
            representative.

      66.      BIPA defines “[w]ritten release” as “informed written consent.” 740 ILCS

14/10.

      67.      Defendant violated Section 15(b) of BIPA because it collected Plaintiff’s

“biometric identifiers” and/or “biometric information” without first obtaining Plaintiff’s

informed written consent.

      68.      Defendant also violated Section 15(b) of BIPA because it collected the

“biometric identifiers” and/or “biometric information” of putative class members without

first obtaining their informed written consent.

      69.      Defendant violated of Section 15(b)(1) of BIPA by failing to inform Plaintiff

in writing that it was storing and/or collecting Plaintiff’s “biometric identifiers” or

“biometric information.” 740 ILCS 14/15(b)(1).

      70.      Defendant violated of Section 15(b)(1) of BIPA by failing to inform putative

class members in writing that it was storing and/or collecting their “biometric

identifiers” or “biometric information.” 740 ILCS 14/15(b)(1).

      71.      Defendant violated of Section 15(b)(2) of BIPA by failing to inform Plaintiff

in writing of the specific purpose and length of term for which Plaintiff’s “biometric

identifiers” and/or “biometric information” was “being collected, stored, and used.” 740

ILCS 14/15(b)(2).

      72.      Defendant violated of Section 15(b)(2) of BIPA by failing to inform putative

class members in writing of the specific purpose and length of term for which their

“biometric identifiers” and/or “biometric information” was “being collected, stored, and

used.” 740 ILCS 14/15(b)(2).

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       73.    Defendant violated of Section 15(b)(3) of BIPA by failing to obtain a written

release from Plaintiff before Defendant collected Plaintiff’s “biometric identifiers” and/or

“biometric information.” 740 ILCS 14/15(b)(3).

       74.    Defendant violated of Section 15(b)(3) of BIPA by failing to obtain a written

release from putative class members before Defendant collected their “biometric

identifiers” and/or “biometric information.” 740 ILCS 14/15(b)(3).

       75.    As explained above, Defendant collected, used and/or stored Plaintiff’s and

class members’ “biometric identifiers” and/or “biometric information” in violation of the

prohibitions and requirements set forth by Section 15(b) of BIPA.

       76.    As explained above, Defendant did not obtain the informed written consent

of Plaintiff and putative class members to collect, use, modify and/or store their

“biometric identifiers” and/or “biometric information.”

       77.    Within one week of the filing of this putative class action, Defendant has

attempted to obtain after-acquired consent from its current employees by offering

employees payments of $500 in exchange for signing a “CLAIM RELEASE FORM”.

       78.    The first paragraph of the CLAIM RELEASE FORM states as follows:




       79.    The second paragraph of the CLAIM RELEASE FORM states as follows:




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       80.     The third paragraph of the CLAIM RELEASE FORM states as follows:




       81.     Plaintiff and putative class members have suffered damages in the form of

liquidated damages as provided by 740 ILCS 14/20(1)-(2).

       82.     The proposed Class is defined as all current and former employees of

Defendant in the State of Illinois who had their “biometric information” and/or

“biometric identifiers” collected, captured and otherwise obtained by Defendant in

violation of Section 15(b) of BIPA. 2

       83.     The proposed Class is ascertainable from Defendant’s records.

       84.     Common questions of law and fact exist.

       85.     The claims in this Court which assert that Defendant violated Section 15(b)

of BIPA by requiring Plaintiff to use a time clock system that collected, captured, and

otherwise obtained Plaintiff’s “biometric information” and/or “biometric identifiers”

without Plaintiff’s express written consent - is typical of the claims of putative class

members.

       86.     Plaintiff will fairly and adequately protect the interests of the putative class

members because Plaintiff seeks to assert statutory rights afforded by BIPA and seeks

to obtain declaratory, injunctive and monetary relief for all class members.




2
 This definition is not a so-called “fail safe” class definition. See, e.g., Heard v. Becton, Dickenson
& Co., 534 F.Supp.3d 831, 848-49 (N.D. Ill. 2021).

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       87.    The proposed Class should be certified to avoid inconsistent or varying

adjudications with respect to individual class members that would establish

incompatible standards of conduct for the party opposing the class.

       88.    The proposed Class should be certified to avoid adjudications with respect

to individual class members that, as a practical matter, would be dispositive of the

interests of the other members not parties to the individual adjudications or would

substantially impair or impede their ability to protect their interests.

       89.    The proposed Class should be certified because Defendant has acted or

refused to act on grounds that apply generally to the class, so that final injunctive relief

or corresponding declaratory relief is appropriate respecting the class as a whole.

       90.    The proposed Class should be certified because questions of law or fact

common to class members predominate over any questions affecting only individual

members, and because a class action is superior to other available methods for fairly

and efficiently adjudicating the present controversy.

       91.    Proposed class counsel will fairly and adequately protect the interest of the

putative class members. See, e.g., Molinari v. Fin. Asset Mgmt. Sys., Inc., 2021 U.S. Dist.

LEXIS 235401, *3 (N.D. Ill. Nov. 22, 2021) (appointing attorney James C. Vlahakis as

provisional class counsel in putative class action involving the Fair Debt Collection

Practices Act and the Telephone Consumer Protection Act, with final approval being

granted by Dkt. 134). See also, In re: Apple Inc. Device Performance Litigation, 18-md-

02827, 2023 U.S. Dist. LEXIS 27892, 2023 WL 2090981 (Feb. 17, 2023) (granting final

approval of a $310 million dollar settlement fund where Plaintiff’s counsel represented

two dozen class representatives).




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      WHEREFORE, Plaintiff respectfully requests that this Honorable Court provide

Plaintiff and putative class members with the following relief:

          a. Declaring that Defendant violated Section 15(b)(1) of BIPA;
          b. Declaring that Defendant violated Section 15(b)(2) of BIPA;
          c. Declaring that Defendant violated Section 15(b)(3) of BIPA;
          d. Requiring Defendant to publish a public policy which identifies its data
             retention and destruction protocols;
          e. Requiring Defendant to destroy “biometric identifiers” or “biometric
             information” after “the initial purpose for collecting or obtaining such
             identifiers or information has been satisfied”;
          f. Awarding liquidated damages for negligent violations of Section 15(a);
          g. Awarding liquidated damages for intentional and/or reckless violations
             of Section 15(a);
          h. Awarding reasonable attorney’s fees and costs;
          i.   Enjoining Defendant from further violations of Section 15(a); and
          j.   Certifying the proposed Class set forth above.



                                        Jury Demand

      Plaintiff demands a jury trial.


/s/ James C. Vlahakis

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